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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                              No. 20 CR 692
              v.
                                              Hon. Steven C. Seeger
 MAURICE ROWELL

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is

hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendant Maurice

Rowell (“Defendant”) and Defendant’s counsel (defined as counsel of record in this

case) solely in connection with the defense of this case, and for no other purpose, and

in connection with no other proceeding, without further order of this Court.

      2.     Defendant and Defendant’s counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

consulted, appointed or employed to assist in the defense, persons who are

interviewed as potential witnesses, counsel for potential witnesses, and other persons

to whom the Court may authorize disclosure (collectively, “authorized persons”).

Potential witnesses and their counsel may be shown copies of the materials as




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necessary to prepare the defense, but may not retain copies without prior permission

of the Court.

      3.        Certain materials to be disclosed by the government contain

particularly sensitive information, including medical records of persons other than

the Defendant. These materials will be produced without redactions of the personal

identifying and medical information, but they will be subject to the rules of this

Order. These materials shall be plainly marked as sensitive by the government either

on the face of the document or in an index accompanying the document’s production

at the time of disclosure. Absent prior permission from the Court, information

marked as sensitive shall not be included in any public filing with the Court, and

instead shall be submitted under seal, with the permission of the Court (except if

Defendant chooses to include in a public document sensitive information relating

solely and directly to Defendant).

      4.        Defendant, Defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by Defendant, Defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      5.        Defendant, Defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of




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the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel’s case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

specially identified sensitive information as described in Paragraph 3 above shall be

filed under seal (with the Court’s permission), absent prior permission from this

Court, unless the parties agree on appropriate redaction of sensitive information.


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      9.     Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.

                                        ENTER:




                                        Steven C. Seeger
                                        United States District Judge


Date: October 27, 2020




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